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(FLU:KS)

                        UNITED STA TES DISTRICT COURT
                           DISTRICT OF NEW JERSEY

 UNITED STATES OF AMERICA,                                   HON.__________

                                      Plaintiff              Criminal No. 96-114

        V.                                                     ORDER FOR
                                                             REMISSION OF FINE
 FERNANDO RODRIGUEZ,

                                      Defendant.

       This matter having been opened to the Court by PAUL J. FISHMAN, United States

Attorney for the District of New Jersey (Leah A. Bynon, Assistant U.S. Attorney, appearing), and

the Court having considered the Petition for Remission of Fine, and for good cause shown,

       ITlSonthis         i         dayof

       ORDERED, that the balance of the fihe imposed on March 19, 1997, in the amount of

$850.00 is hereby remitted.



                                                                      I




                                            UNITED STATES DISTRICT JUDGE
